 1                                                                     The Honorable John H. Chun
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 8                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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        GRAND RIDGE PLAZA II, LLC, a Delaware              NO.    2:20-cv-01829-JHC
11      limited liability company,
                                                           STIPULATED MOTION AND
12                Plaintiff,                               ORDER OF DISMISSAL

13                v.
                                                           NOTE ON MOTION CALENDAR:
14
        REGAL CINEMAS, INC. a Tennessee                    August 2, 2023
15      corporation,

16                Defendant.
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18                                      I.      STIPULATION
19          The parties to the above-captioned action, by and through their undersigned counsel of
20   record, hereby stipulate and agree that, pursuant to FRCP 41 (a)(1)(A)(ii), the above-captioned
21   matter should be dismissed with prejudice and without an award of attorneys’ fees, litigation
22   expenses, or costs to any party.
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24          ///
25          ///
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      STIPULATED MOTION AND ORDER OF DISMISSAL - 1                      SAVITT BRUCE & WILLEY LLP
      Case No. 2:20-CV-01829-JHC                                        1425 Fourth Avenue Suite 800
                                                                       Seattle, Washington 98101-2272
                                                                                (206) 749-0500
 1        RESPECTFULLY SUBMITTED this 2nd day of August, 2023.

 2                                        SAVITT BRUCE & WILLEY LLP
 3                                        By     /s/ Stephen C. Willey
 4
                                            Stephen C. Willey, WSBA #24499
                                             1425 Fourth Avenue, Suite 800
 5                                           Seattle, WA 98101-2272
                                             Telephone: 206.749.0500
 6                                           Email: swilley@sbwllp.com
 7
                                          Attorneys for Plaintiff
 8

 9                                        SCHWABE, WILLIAMSON & WYATT, P.C.

10                                        By     /s/ David R. Ebel [email authorization]
                                            David R. Ebel, WSBA #28853
11
                                             420 5th Avenue, Suite 3400
12                                           Seattle, WA 98101-4010
                                             Telephone: 206.622.1711
13                                           Email: debel@schwabe.com

14                                        Attorneys for Defendant
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     STIPULATED MOTION AND ORDER OF DISMISSAL - 2                SAVITT BRUCE & WILLEY LLP
     Case No. 2:20-CV-01829-JHC                                  1425 Fourth Avenue Suite 800
                                                                Seattle, Washington 98101-2272
                                                                         (206) 749-0500
 1                                           II.     ORDER
 2          Based on the foregoing stipulation by the named parties, all of whom have appeared,
 3   and in accordance with FRCP 41 (a)(1)(A)(ii), this action is hereby dismissed with prejudice
 4   and without an award of attorneys’ fees, litigation expenses, or costs to any party.
 5          It is so ORDERED.
 6          Dated:          August 3       , 2023.




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                                           ______________________________________________
 9                                               The Honorable John H. Chun
                                                 United States District Judge
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      STIPULATED MOTION AND ORDER OF DISMISSAL - 3                       SAVITT BRUCE & WILLEY LLP
      Case No. 2:20-CV-01829-JHC                                         1425 Fourth Avenue Suite 800
                                                                        Seattle, Washington 98101-2272
                                                                                 (206) 749-0500
 1                                    CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that, on August 2, 2023, I electronically filed the

 3   foregoing document with the Clerk of the Court using the CM/ECF system which will send

 4   notification of such filing to all counsel of record.

 5          I declare under penalty of perjury under the laws of the United States of America that

 6   the foregoing is true and correct.

 7          EXECUTED this 2nd day of August, 2023 at Seattle, Washington.

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      CERTIFICATE OF SERVICE                                            SAVITT BRUCE & WILLEY LLP
      No. 2:20-CV-01829-JHC                                             1425 Fourth Avenue Suite 800
                                                                       Seattle, Washington 98101-2272
                                                                                (206) 749-0500
